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 1                                                THE HONORABLE BARBARA J. ROTHSTEIN
 2

 3

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 6
                                UNITED STATES DISTRICT COURT
 7                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 8

 9   MICHAEL CHAVEZ, an individual,                  No. 2:21-cv-00007-BJR
10                         Plaintiff,                DEFENDANT AMAZON WEB SERVICES,
                                                     INC.’S ANSWER TO AMENDED
11            v.                                     COMPLAINT AND AFFIRMATIVE
                                                     DEFENSES
12   AMAZON WEB SERVICES, INC., a
     Delaware Corporation,
13
                           Defendant.
14

15
              Defendant Amazon Web Services, Inc. (“Defendant” or “Amazon”) answers Plaintiff
16
     Michael Chavez’s Complaint as follows, in paragraphs numbered to correspond to the paragraph
17
     numbers in the Complaint:
18
                                 I.     JURISDICTION AND VENUE
19
              1.1   Paragraph 1.1 of the Complaint states legal conclusions for which no answer is
20
     required, and Amazon therefore denies the allegations of this paragraph.
21
              1.2   Paragraph 1.2 of the Complaint states legal conclusions for which no answer is
22
     required, and Amazon therefore denies the allegations of this paragraph.
23
              1.3   Paragraph 1.3 of the Complaint states legal conclusions for which no answer is
24
     required, and Amazon therefore denies the allegations of this paragraph.
25

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      ANSWER TO AMENDED COMPLAINT                                               Perkins Coie LLP
      AND AFFIRMATIVE DEFENSES                                          1201 Third Avenue, Suite 4900
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 1                                            II.    PARTIES
 2            2.1     Amazon admits Plaintiff performed work for it in Seattle, King County,
 3   Washington. Amazon lacks sufficient information to answer as to Mr. Chavez’s place of
 4   residence. Amazon denies the remaining allegations of Paragraph 2.1.
 5            2.2     Amazon admits the allegations of Paragraph 2.2.
 6                                   III.   STATEMENT OF FACTS
 7            3.1     Amazon admits it is a subsidiary of Amazon.com, Inc., a multinational company
 8   headquartered in Seattle, Washington that engages in a variety of businesses, including e-
 9   commerce. Except as expressly admitted, Amazon denies the remaining allegations of Paragraph
10   3.1.
11            3.2     Amazon admits it provides on-demand cloud computing platforms and
12   Application Programming Interface (API) management, among other things, to individuals,
13   companies, and governments, on a “pay-as-you-go” approach for several cloud services. Amazon
14   denies the remaining allegations of Paragraph 3.2.
15            3.3     Amazon admits that it employs more than twenty-five thousand people.
16            3.4     Amazon admits that Plaintiff began working for it on September 5, 2017, that he
17   was hired as a Business Analyst II, that he worked in Amazon’s downtown Seattle offices, that
18   he was the sole business analyst on his team, and that he was one of nine employees who
19   reported to his supervisor at the time he was hired. Amazon denies the remaining allegations of
20   Paragraph 3.4.
21            3.5     Amazon admits Mr. Chavez applied for medical leave April 23, 2018 and that his
22   request was approved. Except as expressly admitted, Amazon denies the remaining allegations of
23   Paragraph 3.5.
24            3.6     Amazon admits that Mr. Chavez’s leave was extended through February 18, 2019.
25   Except as expressly admitted, Amazon denies the remaining allegations of Paragraph 3.6.
26

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 1            3.7    Amazon admits Mr. Kopal met with Mr. Chavez on or around March 5, 2019 and
 2   that Mr. Kopal told Mr. Chavez he would have the opportunity to transition slowly back into
 3   work so that he could be successful. Except as expressly admitted, Amazon denies the remaining
 4   allegations of Paragraph 3.7.
 5            3.8    Amazon admits that Mr. Chavez sent an email requesting an accommodation,
 6   received a response, and later filed an accommodation request with a letter signed by his doctor.
 7   Those documents speak for themselves. Except as expressly admitted, Amazon denies the
 8   remaining allegations of Paragraph 3.8.
 9            3.9    Amazon denies the allegations of Paragraph 3.9.
10            3.10   Amazon admits Mr. Chavez’s manager, Samir Kopal, met with Mr. Chavez on
11   April 2, 2019 and they discussed Mr. Chavez’s interest in becoming a software development
12   engineer. Except as expressly admitted, Amazon denies the remaining allegations of Paragraph
13   3.10.
14            3.11   Amazon denies the allegations of Paragraph 3.11.
15            3.12   Amazon denies the allegations of Paragraph 3.12.
16            3.13   Amazon admits that in April 2019, Amazon assigned Mr. Chavez a “Least
17   Effective” rating for work he performed in 2018 before taking leave, which made him ineligible
18   for compensation increases. Except as expressly admitted, Amazon denies the remaining
19   allegations of Paragraph 3.13.
20            3.14   Amazon admits Mr. Chavez sent Mr. Kopal a chat message on April 28, 2019
21   saying he had a seizure earlier in the day and would not be in the office the following day, April
22   29, 2019. Except as expressly admitted, Amazon denies the remaining allegations of Paragraph
23   3.14.
24            3.15   Amazon admits that Heidi Kucera Taylor emailed Mr. Chavez on April 30, 2019,
25   indicating he could delete previously submitted time off for several dates in April, including
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 1   April 29, 2019 as part of the pending accommodation review. Except as expressly admitted,
 2   Amazon denies the remaining allegations of Paragraph 3.15.
 3            3.16   Amazon admits Mr. Kopal met with Mr. Chavez on May 2, 2019. Except as
 4   expressly admitted, Amazon denies the remaining allegations of Paragraph 3.16.
 5            3.17   Amazon admits Mr. Chavez emailed Jennifer Zumek on May 2, 2019, expressing
 6   his intent to resign. Ms. Zumek replied the following day. Except as expressly admitted, Amazon
 7   denies the remaining allegations of Paragraph 3.17.
 8            3.18   Amazon denies the allegations of Paragraph 3.18.
 9            3.19   Amazon lacks sufficient information to answer as to Mr. Chavez’s intentions and
10   career plans. Except as expressly admitted, Amazon denies the remaining allegations of
11   Paragraph 3.19.
12            3.20   Amazon admits Mr. Chavez expressed concerns over his relationship with Mr.
13   Kopal to the Amazon HR department. Amazon investigated Mr. Chavez’s concerns and
14   concluded his complaints were unsubstantiated. Except as expressly admitted, Amazon denies
15   the remaining allegations of Paragraph 3.20.
16            3.21   Amazon denies the allegations of Paragraph 3.21.
17                              IV.    FEDERAL CAUSES OF ACTION
18                             FOR DISCRIMINATION AND RETALIATION
19            4.1    Paragraph 4.1 of the Complaint states legal conclusions for which no answer is
20   required, and Amazon therefore denies the allegations of this paragraph. To the extent the
21   paragraph contains factual allegations, Amazon denies the allegations of Paragraph 4.1.
22            4.2    Paragraph 4.2 of the Complaint states legal conclusions for which no answer is
23   required, and Amazon therefore denies the allegations of this paragraph. To the extent the
24   paragraph contains factual allegations, Amazon denies the allegations of Paragraph 4.2.
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 1            4.3   Paragraph 4.3 of the Complaint states legal conclusions for which no answer is
 2   required, and Amazon therefore denies the allegations of this paragraph. To the extent the
 3   paragraph contains factual allegations, Amazon denies the allegations of Paragraph 4.3.
 4            4.4   Amazon admits Plaintiff filed a discrimination charge with the EEOC and that the
 5   EEOC issued Mr. Chavez a “Right to Sue” letter dated October 5, 2020. Except as expressly
 6   admitted, the allegations of Paragraph 4.4 are denied.
 7            4.5   The allegations in Paragraph 4.5 are statements of Plaintiff’s claims and/or legal
 8   conclusions for which an answer is not required. To the extent the paragraph contains factual
 9   allegations, Amazon denies the allegations of Paragraph 4.5.
10                               V.     SECOND CAUSE OF ACTION
11                        DISCRIMINATION AND RETALIATION - RCW 49.60
12            5.1   Paragraph 5.1 of the Complaint states legal conclusions for which no answer is
13   required, and Amazon therefore denies the allegations of this paragraph. To the extent the
14   paragraph contains factual allegations, Amazon denies the allegations of Paragraph 5.1.
15            5.2   Paragraph 5.2 of the Complaint states legal conclusions for which no answer is
16   required, and Amazon therefore denies the allegations of this paragraph. To the extent the
17   paragraph contains factual allegations, Amazon denies the allegations of Paragraph 5.2.
18            5.3   Paragraph 5.3 of the Complaint states legal conclusions for which no answer is
19   required, and Amazon therefore denies the allegations of this paragraph. To the extent the
20   paragraph contains factual allegations, Amazon denies the allegations of Paragraph 5.3.
21                                VI.    THIRD CAUSE OF ACTION
22                  WRONGFUL TERMINATION IN VIOLATION OF PUBLIC POLICY
23            6.1   Paragraph 6.1 of the Complaint states legal conclusions for which no answer is
24   required, and Amazon therefore denies the allegations of this paragraph. To the extent the
25   paragraph contains factual allegations, Amazon denies the allegations of Paragraph 6.1.
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 1            6.2    Paragraph 6.2 of the Complaint states legal conclusions for which no answer is
 2   required, and Amazon therefore denies the allegations of this paragraph. To the extent the
 3   paragraph contains factual allegations, Amazon denies the allegations of Paragraph 6.2.
 4            6.3    Paragraph 6.3 of the Complaint states legal conclusions for which no answer is
 5   required, and Amazon therefore denies the allegations of this paragraph. To the extent the
 6   paragraph contains factual allegations, Amazon denies the allegations of Paragraph 6.3.
 7            6.4    Paragraph 6.4 of the Complaint states legal conclusions for which no answer is
 8   required, and Amazon therefore denies the allegations of this paragraph. To the extent the
 9   paragraph contains factual allegations, Amazon denies the allegations of Paragraph 6.4.
10            6.5    Paragraph 6.5 of the Complaint states legal conclusions for which no answer is
11   required, and Amazon therefore denies the allegations of this paragraph. To the extent the
12   paragraph contains factual allegations, Amazon denies the allegations of Paragraph 6.5.
13                                                ANSWER
14                                     AFFIRMATIVE DEFENSES
15            Defendant further responds to Plaintiff's Complaint by alleging the following affirmative
16   defenses:
17            1.     Plaintiff fails to state a claim upon which relief can be granted, in whole or in
18   part.
19            2.     Plaintiff’s claims are barred, in whole or in part, by one or more applicable
20   statutes of limitation and/or by the doctrine of laches.
21            3.     Plaintiff’s claims may be barred, in whole or in part because Plaintiff failed to
22   exhaust his administrative remedies.
23            4.     Plaintiff’s claims are barred, in whole or in part, because all employment
24   decisions made by Amazon regarding Mr. Chavez were based upon legitimate, non-retaliatory
25   factors unrelated to any unlawful purpose or intent. Even assuming impermissible factors were
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 1   considered, which Amazon expressly denies, the same decisions would have been made with
 2   respect to Mr. Chavez even absent such considerations.
 3            5.     Plaintiff’s claims are barred, in whole or in part, because Amazon has undertaken
 4   a good faith effort to comply with all applicable laws and has never acted with malice or with
 5   reckless indifference to Plaintiff’s legally protected rights.
 6            6.     Plaintiff failed to engage in the interactive process.
 7            7.     To the extent that Plaintiff had a disability, the disability prevented Plaintiff from
 8   performing the essential functions of his job.
 9            8.     To the extent that Plaintiff had a disability, Amazon reasonably accommodated
10   that disability and/or Plaintiff prevented Amazon from reasonably accommodating that
11   disability.
12            9.     Plaintiff’s claims are barred, in whole or in part, because any accommodations
13   requested by Plaintiff, or which Plaintiff may now claim he should have received, would have
14   required Amazon to eliminate an essential function of an existing position, would have imposed
15   an undue hardship on Amazon’s operation of its business, or were not medically necessary.
16            10.    Plaintiff contributed or caused his own damages—the existence of which Amazon
17   specifically denies—by his own actions, omissions, misconduct, and/or negligence.
18            11.    Plaintiff’s claims may be barred, in whole or in part, by his failure to mitigate his
19   damages. Alternatively, Plaintiff’s claims for relief must be set off and/or reduced by wages,
20   compensation, pay, benefits, and other earnings, remuneration, and profits received by Plaintiff.
21            12.    Plaintiff’s claims are barred, in whole or in part, by the doctrines of estoppel,
22   waiver, ratification and/or acquiescence, and unclean hands.
23            To the extent necessary, Amazon’s answers to the Complaint shall be designated as
24   defenses or affirmative defenses. Amazon reserves the right to amend its Answer to add
25   additional defenses and affirmative defenses if warranted after discovery.
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 1                                        PRAYER FOR RELIEF
 2            Having answered Plaintiff’s Complaint and having asserted affirmative defenses,

 3   Defendant requests the following relief:

 4            A.     Dismissal of Plaintiff’s Complaint and claims in their entirety with prejudice;

 5            B.     Entry of judgment in favor of Defendant;

 6            C.     Defendant’s costs of suit, including reasonable attorneys’ fees; and

 7            E.     Such other relief as the Court may deem just and proper.

 8   DATED: February 12, 2021                          By: s/ Kevin J. Hamilton
                                                       Kevin J. Hamilton, WSBA No. 15648
 9
                                                       Margo S. Jasukaitis, WSBA No. 57045
10                                                     Attorneys for Defendant
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